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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
; . Case: 2:21-cr-20461
United States of America, Judge: Parker, Linda V.
MJ: Stafford, Elizabeth A.
Plaintiff, Filed: 07-14-2021

INDI USA VS DAVIS (DP)

Vv. Violations:
18 U.S.C. § 922(0)
18 U.S.C. § 922(g)(3)

 

Dion Davis, 18 U.S.C. § 922(n)
Defendant.
/
INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE

18 U.S.C. $ 922(0) — Illegal Possession of a Machine Gun
On or about April 25, 2021 through April 30, 2021, in the Eastern District of
Michigan, the defendant, Dion Davis, knowingly possessed a machinegun, that is, a
Glock 20GEN4 10mm pistol equipped with a Glock switch; in violation of Title 18,

United States Code, Sections 922(0) and 924(a)(2).

 
 

 

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COUNT TWO

18 U.S.C. $ 922(g)(3) - Possession of a Firearm by an Unlawful User of a
Controlled Substance

On or about April 25, 2021 through April 30, 2021, in the Eastern District of
Michigan, the defendant, Dion Davis, knowing he was an unlawful user of a
controlled substance, as defined in 21 U.S.C. § 802, knowingly possessed a firearm,
to wit: a Glock 20GEN4 10mm pistol, said firearm having previously traveled in
interstate and/or foreign commerce; in violation of Title 18, United States Code,

Sections 922(g)(3).

COUNT THREE

18 U.S.C. § 922(n) - Receipt of a Firearm by a Person Under Indictment

On or about April 25, 2021 through April 30, 2021, in the Eastern District of
Michigan, the defendant, Dion Davis, who was then under indictment in Wayne
County, Michigan for a crime punishable by a term exceeding one year, to wit:
Fleeing and Eluding in the Third Degree, M.C.L. 257.602(a), willfully received a
firearm, to wit: a Glock 20GEN4 10mm pistol, said firearm having previously
traveled in interstate and/or foreign commerce; in violation of Title 18, United States

Code, Section 922(n).

 
 

 

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COUNT FOUR

18 U.S.C. $ 922(g)(3) - Possession of Ammunition by an Unlawful User of a
Controlled Substance

On or about March 7, 2021, in the Eastern District of Michigan, the defendant,
Dion Davis, knowing he was an unlawful user of a controlled substance, as defined
in 21 U.S.C. § 802, knowingly possessed ammunition, to wit: S&B .45 caliber
ammunition, said ammunition having previously traveled in interstate and/or foreign

commerce; in violation of Title 18, United States Code, Sections 922(g)(3).

COUNT FIVE

18 U.S.C. § 922(g)(3) - Possession of a Firearm by an Unlawful User of a
Controlled Substance

On or about July 13, 2021, in the Eastern District of Michigan, the defendant,
Dion Davis, knowing he was an unlawful user of a controlled substance as defined
in 21 U.S.C. § 802, knowingly possessed a firearm, to wit: a Glock 27 Gen4, .40
caliber pistol, said firearm having previously traveled in interstate and/or foreign

commerce; in violation of Title 18, United States Code, Sections 922(g)(3).

COUNT SIX
18 U.S.C. § 922(n) - Receipt of a Firearm by a Person Under Indictment
On or about July 13, 2021, in the Eastern District of Michigan, the defendant,
Dion Davis, who was then under indictment in Wayne County, Michigan for a crime

punishable by a term exceeding one year, to wit: Fleeing and Eluding in the Third

 
 

 

 

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Degree, M.C.L. 257.602(a), willfully received a firearm, to wit: a Glock 27 Gen4,
40 caliber pistol, said firearm having previously traveled in interstate and/or foreign

commerce; in violation of Title 18, United States Code, Section 922(n).

FORFEITURE ALLEGATIONS
18 U.S.C. § 924(d) and 28 U.S.C. § 2461

The allegations contained in Count One through Six of this Indictment are
hereby re-alleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461.

Upon conviction of the offense charged in this Indictment, Dion Davis, shall
forfeit to the United States, pursuant to Title 18, United States Code, Section
924(d)(1) and 28 United States Code, Section 2461, any firearm or ammunition
involved in said offense including but not limited to:

e one Glock 20GEN4 10mm pistol

e one S&B .45 caliber casing

© one Glock 27 Gen4, .40 caliber pistol

THIS IS A TRUE BILL
S/Grand Jury Foreperson
GRAND JURY FOREPERSON
Dated: July 14, 2021

 

SAIMA S. MOHSIN
Acting United States Attorney

 
 

 

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CRAIG WININGER
Chief, Violent and Organized Crime Unit

 

 

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United States District Court Criminal Case Cover Sheet | Case Number
Eastern District of Michigan

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

 

  
    

 

 

 

 

 

 

Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': Judge Assigned:
Llyes No AUSA’s Initials: 7 C~

 

Case Title: USA v. Dion Davis

County where offense occurred : Wayne

Check One: X]Felony [_]Misdemeanor L1Petty
Indictment/ Information --- no prior complaint.
Y¥_Indictment/ Information --- based upon prior complaint [Case number: 21-mj-30341 ]
Indictment/ Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

se Information

 

 

Superseding to Case No: Judge:

 

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

attorney of record for

  
 

Please take notice that the below listed Assistant Unite
the above captioned case.

7/14/2021

Date Robert W. VanWert
Assistant United States Attorney

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Attorney Bar #, P70957

 

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

even though one of them may have already been terminated.
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